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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 GINO FRACCHIOLLA

                   Plaintiff,

                      vs.                       NO. 20-01684-WB

 HIRE MY TEAM LLC, et al.                       CIVIL ACTION

                 Defendants.


                                          ORDER

        AND NOW, this ________ day of __________________, 2021, after consideration of the

Joint Motion for Approval of the Settlement Agreement filed by Plaintiff and Defendants Santos

Gonzalez and Digital Candy LLC, it is hereby ORDERED that the Joint Motion for Approval of

the Settlement Agreement, as reflected by the terms of the Joint Stipulation of Settlement and

Release of Claims attached thereto as Exhibit A, is GRANTED in its entirety.



                                                          BY THE COURT:




                                                                   WENDY BEETLESTONE
                                                                   United States District Judge




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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 GINO FRACCHIOLLA

                    Plaintiff,

                       vs.                        NO. 20-01684-WB

 HIRE MY TEAM LLC, et al.                         CIVIL ACTION

                  Defendants.




                  JOINT MOTION FOR APPROVAL OF SETTLEMENT
                     UNDER THE FAIR LABOR STANDARDS ACT

       Plaintiff, Gino Fracchiolla, and Defendants, Santos Gonzalez and Digital Candy LLC

(“Settling Defendants”), by and through their respective undersigned counsel, jointly move for the

approval of the settlement of Plaintiff’s claims brought under the Fair Labor Standards Act

(“FLSA”), the Pennsylvania Minimum Wage Act (“PMWA”), the Pennsylvania Wage Payment

and Collection Law (“WPCL”), and Title 9 of the Philadelphia Code, the Wage Theft Ordinance

and rely on the factual and legal analysis set forth in the accompanying memorandum of law.


Dated: September 9, 2021                     Respectfully submitted,


                                             /s/ W. Charles Sipio
                                             W. Charles Sipio, Esq.
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                           Santos Gonzalez and Digital Candy LLC




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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA


    GINO FRACCHIOLLA

                        Plaintiff,

                            vs.                              NO. 20-01684-WB

    HIRE MY TEAM LLC, et al.                                 CIVIL ACTION

                      Defendants.




    BRIEF IN SUPPORT OF THE JOINT MOTION FOR APPROVAL OF SETTLEMENT
                   UNDER THE FAIR LABOR STANDARDS ACT

           The above-captioned matter involves claims brought by Plaintiff against Settling

Defendants for violations of the the Fair Labor Standards Act (“FLSA”), the Pennsylvania

Minimum Wage Act (“PMWA”), the Pennsylvania Wage Payment and Collection Law

(“WPCL”), and Title 9 of the Philadelphia Code, the Wage Theft Ordinance. Plaintiff and Settling

Defendants respectfully move jointly for an order approving the settlement of his FLSA, PMWA,

WPCL, and Title 9 of the Philadelphia Code, the Wage Theft Ordinance claims (the “FLSA

Settlement”). As discussed below, the FLSA Settlement warrants judicial approval.

      I.      Background 1

           In this case, Mr. Fracchiolla alleges that he was hired by Defendants in or about

December of 2018. Compl. at ¶13. Throughout his employment with Defendants, Mr.

Fracchiolla was primarily supervised by the individual Defendants to this action. Id. at ¶14. At

the time of his hire, Mr. Fracchiolla was given the title of Director of Partnerships and Business


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 The factual recitation below represents Mr. Fracchiolla’s allegations in this lawsuit consistent with his operative
pleading. Settling Defendants deny these allegations.
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Development. Id. at ¶15. On or about April 1, 2019, Mr. Fracchiolla was promoted to Vice

President of Sales – California Division. Id. at 16. Defendants are engaged in the business of

web design, web development, search engine optimization (“SEO”), and digital marketing

(among other web-based services) and Mr. Fracchiolla was responsible (in both of his roles with

Defendants) to sell those services. Id. at ¶17.

        Mr. Fracchiolla alleges Defendants Hire My Team, LLC, Hire My Agency, LLC, Digital

Candy, LLC, and Digital Equity, LLC have and continue to constitute a single business, venture,

enterprise and conflated entanglement of operations. Id. at ¶7. He contends these entities are

properly named in this lawsuit as a joint employer, integrated employer or single employer

insofar as:

    1. These businesses have been operated and managed by the same managers and/or owners,

        Defendant Adetunji Thomas-Ouarcoo and Defendant Santos Gonzalez;

    2. These business names are used interchangeably depending upon project or work needed

        for different projects or for other reasons;

    3. While Mr. Fracchiolla represented himself as an employee of Defendant Hire My Team,

        LLC, he received payment of wages from several of these entities throughout his

        employment, including Defendant Hire My Team, LLC, Defendant Digital Candy, LLC

        and Defendant Digital Equity.

    4. Mr. Fracchiolla appeared on Defendant Hire My Team, LLC’s and Defendant Hire My

        Agency, LLC’s website as an employee – specifically the Vice President of Sales.

    5. The entities overlap in finance, resources, negotiation, office space, management and

        ownership such that they basically function as a single enterprise.

Id. at ¶7.



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           a. Misclassification as “Independent Contractor”

       At the outset of Mr. Fracchiolla’s employment with Defendants, Defendants attempted to

classify Mr. Fracchiolla as an independent contractor and had him sign an agreement stating that

he was an independent contractor. Id. at ¶18. However, notwithstanding the contract Mr.

Fracchiolla signed at the beginning of his employment (discussed supra), he was at all times

during his employment with Defendants misclassified as an independent contractor, when in fact

he was an “employee,” as evidenced by the following:

           a. Defendants dictated Mr. Fracchiolla’s working hours. For example, Mr. Fracchiolla
              was directed when he needed to cover “LiveChats” – which included him working
              late nights and on weekends;
           b. Defendants often times instructed and/or dictated what Mr. Fracchiolla needed to
              work on throughout the week/day;
           c. Mr. Fracchiolla was provided with an organizational chart, which had him directly
              reporting to Sarah Clay (Director of Operations – hereinafter “Clay”) and indirectly
              reporting to Defendant Individuals;
           d. Mr. Fracchiolla’s office space in California was paid for by Defendants;
           e. Mr. Fracchiolla only worked for Defendants during his employment and was not
              permitted to work for any other company (primarily due to the number of hours that
              he was required to work for Defendants);
           f. The sign outside of Mr. Fracchiolla’s office identified that the office was being used
              for Defendants’ business (specifically Hire My Team, LLC);
           g. Mr. Fracchiolla was given an email address identifying him as an employee of
              Defendant Hire My Team, LLC;
           h. Mr. Fracchiolla’s email signature line identified him as an employee of Defendant
              Hire My Team, LLC;
           i. Mr. Fracchiolla appeared on Defendant Hire My Team, LLC’s and Defendant Hire
              My Agency, LLC’s website as an employee (during and even after his
              employment);
           j. Mr. Fracchiolla was permitted to address any work concerns with Defendants’
              management;
           k. Mr. Fracchiolla was required to obey all directives given by Defendants’
              management;
           l. Defendants’ management set goals for Mr. Fracchiolla and the team he supervised;
           m. Defendants’ management had the ability to deny Mr. Fracchiolla’s access to his
              accounts and work history;

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            n. Mr. Fracchiolla was required to represent and hold himself out as an employee of
               Defendants when speaking to staff or clients;
            o. Mr. Fracchiolla was required to attend meetings and/or telephone conference calls
               when scheduled by Defendants’ management;
            p. Mr. Fracchiolla’s work performance was reviewed and critiqued by Defendants’
               management;
            q. Mr. Fracchiolla was consistently supervised by Defendants’ management;
            r. Defendants’ management had the ability to dismiss Mr. Fracchiolla’s employment
               based on performance and/or behavior (or other reasons); and
            s. Mr. Fracchiolla was deemed a “misclassified employee” by the State of California’s
               Employment Development Department (“EDD”) when applying for
               unemployment benefits after he was terminated from his employment with
               Defendants. Specially, Christine Sung, a Tax Auditor for the Tax Branch of EDD
               held Mr. Fracchiolla to be a common law employee under Section 621(b) of the
               California Unemployment Insurance Code (“CUIC”), Section 13004 of the UCIC
               and Section 4304-1 of the California Code of Regulations (“CRR”) Title 22.

Id. at ¶19; Exhibit “A’ to Complaint.

        Based on the foregoing and for other reasons, Mr. Fracchiolla asserts that he was an

employee of Defendants and therefore was deprived of benefits to which an employee would

normally be entitled, including but not limited to having income reported to Social Security for

retirement and benefits, health benefits, and deprivation of his own work earnings (including

overtime compensation – discussed infra). Id. at ¶20.

            b. Defendants’ Overtime Violations

        Because Mr. Fracchiolla was misclassified as an independent contractor, he was paid

varying lump sums on a weekly basis that Defendants deemed “commissions” and/or bonuses and

never kept proper track of the amount of hours that Mr. Fracchiolla worked during any given week.

Id. at ¶21. Additionally, some weeks during his employment with Defendants, Mr. Fracchiolla was

paid zero dollars. Id. at ¶22. Mr. Fracchiolla was also not provided with weekly paychecks

providing a breakdown of what was considered commissions vs. bonuses. Id. at ¶23. Instead,

Defendants wired Mr. Fracchiolla’s weekly wages to his bank account and did not deduct federal

or state taxes. Id. at ¶24.

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       During the course of Mr. Fracchiolla’s employment with Defendants, he was at all times a

non-exempt employee who should have been entitled to overtime wages (at a rate of time and one

half his average regular hourly rate). Id. at ¶25. Mr. Fracchiolla worked an obscene amount of

hours for Defendants during his approximate 7-month tenure, often times working 12 hours a day,

6-7 days per week (for a total of approximately 72-84 hours per week). Id. at ¶26. At no point in

time was Mr. Fracchiolla ever paid overtime compensation under federal or Pennsylvania state

law (as required for non-exempt employees). Id. at ¶27. Furthermore, during the weeks that Mr.

Fracchiolla was paid zero wages or very minimal wages, Defendants also violated federal and

Pennsylvania state minimum wages laws by failing to pay him at least $7.25 per hour for each

hour that he worked. Id. at ¶28.

       At no point in time during his employment with Defendants did Mr. Fracchiolla qualify as

an exempt employee under the Executive, Professional or Administrative exemptions provided for

under the FLSA or Pennsylvania Minimum Wage Act. Id. at ¶29. For example, one element

required to fall under any of the above three exemptions, Mr. Fracchiolla must have been

compensated on a salary basis – which he was not, as Mr. Fracchiolla’s pay varied every week,

ranging from zero dollars to upwards of $3,000.00. Id. at ¶30. Mr. Fracchiolla was also not an

outside sales person (but rather performed inside sales) and therefore did not qualify as an exempt

employee under the FLSA or the PMWA for those reasons. Id. at ¶31. Furthermore, while

employed with Defendants, Defendants never designated Mr. Fracchiolla as an employee who fell

under any exemption provided for by the FLSA or the PMWA, as Defendants consistently

misclassified him as an independent contractor from the inception of his employment until his

termination. Id. at ¶32.




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        All of Defendants’ actions as aforesaid are without question willful, intentional and in

blatant disregard for state and federal laws, as evidenced by:

                 a. Defendants intentionally misclassifying Mr. Fracchiolla as an independent
                    contractor to avoid state and federal wage and hour obligations;
                 b. Defendants failing to pay Mr. Fracchiolla overtime compensation for all hours
                    that he worked in excess of 40 hours per week;
                 c. Defendants often times failing to pay Mr. Fracchiolla enough wages and/or
                    withholding/deducting his pay to the point where Mr. Fracchiolla was being
                    paid below the federal and state mandated minimum wage; and
                 d. Defendants failing to keep proper record of the number of hours that Mr.
                    Fracchiolla worked in any given week.

Id. at ¶33.

        Mr. Fracchiolla is therefore owed back pay and liquidated damages for Defendants willful

failure to abide by federal and state overtime and minimum wage obligations. Id. at ¶34.

              c. Failure to Pay Commissions and Bonuses

        At the beginning of Mr. Fracchiolla’s employment with Defendants, Defendants agreed

to pay Mr. Fracchiolla the following commissions:

                     i. “6% commission on anything Mr. Fracchiolla sold”;
                    ii. “8% commission on any deal after $30K sold in a week”; and
                   iii. “10% commission on any of Gino's relationships.”

Id. at ¶35.

        Shortly after commencing his employment with Defendants, Defendants and Mr.

Fracchiolla agreed that his commission structure would be modified to where Mr. Fracchiolla

would receive 10% base commission and anything he sold and then 12% commission on

anything he sold above $15,000.00 in revenue per week. Id. at ¶36. Throughout the course of his

employment with Defendants, Mr. Fracchiolla was also promised additional commissions if he

sold certain service packages (presumably as an incentive for Mr. Fracchiolla to sell those

particular packages). For example, Mr. Fracchiolla was promised in writing that he would



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receive 20% commission if he sold Platinum or Global Packages and had customers pay in full

via wire transfer to Defendants’ Philadelphia, PA location. Id. at ¶37. In June of 2019, Mr.

Fracchiolla was sent an e-mail indicating that Defendants would also pay him 20% commission

on any “wire for PIF [paid in full] or deposits.” Id. at ¶38.

       On or about April 1, 2019, Mr. Fracchiolla was promoted to Vice President of Sales –

California Division. Along with his promotion, Mr. Fracchiolla was promised by Defendant

Individuals that he would received a 1% override on any revenue that Defendant received per

week (to be capped at $10,000 per month). Defendant Parker and Defendant Gonzalez later

changed this promise to a 1% override on any revenue that Defendant’s California division

received per week. Id. at ¶39.

       In addition to the aforesaid commissions promised to Mr. Fracchiolla by Defendants, Mr.

Fracchiolla was also promised various incentive bonuses if he and/or his team met certain goals.

The monetary amount guaranteed for these bonuses ranged from $200.00 to $500.00+ per week.

Id. at ¶40. Despite all of Defendants promises and agreements to pay Mr. Fracchiolla various

commissions, overrides, and bonuses, Mr. Fracchiolla was never paid all commissions,

overrides, and/or bonuses that he was entitled to. Id. at ¶41. In fact, there were a few occasions

where Mr. Fracchiolla was paid zero dollars or very minimal commissions/bonuses despite (1)

Defendants’ promise to pay him a 1% override on any revenue generated by his division per

week; (2) Mr. Fracchiolla making multiple sales on a weekly basis; (3) Mr. Fracchiolla meeting

certain goals for which Defendants promised to pay bonuses. Id. at ¶42.

       Mr. Fracchiolla often times questioned and complained to Defendants’ management

about his pay and would indicate that he believed Defendants had not paid him properly under

the promises and/or agreements set forth by Defendants’ management (regarding commissions,



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bonuses, and override). Id. at ¶43. Rather than rectify his concerns by paying him the wages he

was entitled to, Defendants’ management would instead give Mr. Fracchiolla the “run around,”

tell Mr. Fracchiolla the remainder of his wages would be coming soon (and then still never pay

him), blame the lack of wages that Mr. Fracchiolla received on refunded sales, and/or simply

ignore Mr. Fracchiolla’s concerns. Id. at ¶44.

       On or about July 5, 2019, shortly following his last complaints and/or expressed concerns

regarding non-payment of wages (including commissions, bonuses, and overrides), Mr.

Fracchiolla was terminated from his employment with Defendants. Id. at ¶45. Defendants first

claimed in an email from Defendant Parker that Mr. Fracchiolla was being terminated for his

“lack of respect” and “growing negativity” towards Defendant Parker, Defendant Gonzalez, and

Clay. Id. at ¶46. Later in a post made by Defendant Parker online, Defendant Parker claimed that

Mr. Fracchiolla was terminated because of his criminal record – which is completely false as Mr.

Fracchiolla has correspondence from Defendant Parker that he didn’t search Mr. Fracchiolla’s

criminal record until after Mr. Fracchiolla had already been terminated. Id. at ¶47. To date, Mr.

Fracchiolla has still not been fully paid for all of his promised commissions, overrides, or

bonuses. Id. at ¶48.

       Mr. Fracchiolla has brought a seven (“7”) count lawsuit against Defendants alleging

violations of the FLSA (Count I), violations of the Pennsylvania Minimum Wage Act

(“PMWA”) (Count II), violations of the Pennsylvania Wage Payment and Collection Law

(“WPCL”) (Count III), violations of Title 9 of the Philadelphia Wage Theft Ordinance (Count

IV), common law breach of contract (Count V), common law promissory estoppel / detrimental

reliance (Count VI) and common law fraudulent misrepresentation (Count VII).




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   II.      Legal Argument

            A. General Principles Pertaining to Judicial Review of FLSA Settlements.

         Although the Third Circuit Court of Appeals has not specifically addressed the standards

to be applied in evaluating the fairness of an FLSA settlement, district courts within the Third

Circuit Court have followed the position taken by the Eleventh Circuit Court of Appeals in Lynn’s

Food Stores, Inc. v. United States Department of Labor, 679 F.2d 1350, 1354-55 (11th Cir. 1982).

See e.g. Cuttic v. Crozer-Chester Med. Cntr., 868 F. Supp. 2d 464, 466 (E.D. Pa. 2012). In Lynn’s

Food Stores, Inc., the Court held that court approval is required for settlements of claims brought

under the FLSA pursuant to 29 U.S.C. § 216(b). Lynn’s Food Stores, Inc., 679 F.2d at 1354-55.

         Judicial review of a proposed settlement agreement requires the court to examine the

proposed settlement agreement of the parties and determine if it is “a fair and reasonable resolution

of a bona fide dispute over FLSA provisions.” Lynn’s Food Stores, Inc. 679 F.2d at 1355. Courts

generally break this analysis down into three elements: (1) whether the settlement resolves a bona

fide dispute; (2) whether the terms of the agreement are fair and reasonable to the employee; and

(3) whether the terms of the agreement otherwise frustrate the implementation of the FLSA.

Ogunlana v. Atl. Diagnostic Labs. LLC, No. 19-1545, 2020 WL 1531846, *3 (E.D. Pa. Mar. 31,

2020) (citation omitted).

            B. The Proposed Settlement Resolves a Bona Fide Dispute.

         A proposed settlement resolves a bona fide dispute if it ‘reflect[s] a reasonable compromise

over issues, such as FLSA coverage or computation of back wages, that are actually in dispute’

and is not a ‘mere waiver of statutory rights brought about by an employer's overreaching.’”

McGee v. Ann's Choice, Inc., No. 12-2664; 2014 WL 2514582, at *2 (E.D. Pa. June 4, 2014)

(quoting Lynn's Food Stores, 679 F.2d at 1354). “Typically, Courts regard the adversarial nature



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of a litigated FLSA case to be an adequate guarantor of fairness.” Kauffman v. U-Haul Int’l, Inc.,

No. 16-4580, 2019 WL 1785453, at *2 (E.D. Pa. April 24, 2019). “In essence, for a bona fide

dispute to exist, the dispute must fall within the contours of the FLSA and there must be evidence

of the defendant’s intent to reject or actual rejection of that claim when it is presented.” Kraus v.

PA Fit II, LLC, 155 F. Supp. 3d 516, 530 (E.D. Pa. Jan. 11, 2016).

       Here, a bona fide dispute exists as to Mr. Fracchiolla’s claims in this lawsuit under the

FLSA, as evidenced by the Complaint and Answer filed in this action by the Settling Defendants.

Absent settlement, the respective arguments of the parties would have persisted through dispositive

motion practice, with each side arguing their respective positions to the Court. Specifically, the

parties would have hotly disputed whether, inter alia, Settling Defendants were Mr. Fracchiolla’s

“employers” under the FLSA, the amount of Mr. Fracchiolla’s recoverable damages and whether

Mr. Fracchiolla was exempt under the FLSA as a matter of law.

           C. The Proposed Settlement Is Fair And Reasonable.

       After determining that a bona fide dispute exists, the Court then must determine whether

the proposed settlement provides a fair and reasonable resolution of that dispute. When

determining whether a proposed settlement is fair and reasonable, district courts in this Circuit

consider the nine-factor test for evaluating proposed class action settlement agreements established

in Girsh v. Jepson, 521 F.2d 153, 157 (3d Cir. 1975). See e.g. Lyons, 2015 WL at *4. The Girsh

factors are: (1) the complexity, expense and likely duration of the litigation; (2) the reaction of the

class to the settlement; (3) the stage of the proceedings and the amount of discovery completed;

(4) the risks of establishing liability; (5) the risks of establishing liability; (6) the risks of

maintaining the class action through trial; (7) the ability of the defendant to withstand a greater

judgment; (8) the range of reasonableness of the settlement fund in light of the best possible

recovery; and (9) the range of reasonableness of the settlement fund to a possible recovery in light
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of all the attendant risks of litigation. Girsh, 521 F.2d at 157. No one factor is dispositive. Hall v.

Best Buy Co., 274 F.R.D. 154, 159 (E.D. Pa. 2011). And because Girsh was a class action, some

of the factors are of “little help, if not irrelevant in the single-plaintiff context.” Howard v. Phila.

Housing Auth., 197 F. Supp. 3d 773, 777 n.1 (E.D. Pa. 2016). However, district courts have looked

to Girsh generally for guidance. See e.g. Sorathia v. Fidato Partners LLC, et al., No. 19-04253-

MSG (E.D. Pa.) at Docket Entry 38 at *7, ¶20.

        Here, application of the majority of the relevant Girsh factors applicable to a single-

plaintiff FLSA case compel a finding that the FLSA Settlement is fair and reasonable. As to Girsh

factor 1 (complexity, expense, and likely duration of the litigation), as discussed above, the parties

dispute whether Settling Defendants properly paid Mr. Fracchiolla for all hours worked, whether

he was actually employed by Settling Defendants and whether he was indeed misclassified.

Continued litigation and discovery of those issues will be costly, complex, and time-consuming,

as it would require numerous depositions of witnesses (including a potential designee deposition

pursuant to Fed.R.Civ.P. 30(b)(6)) and drafting and responding to a dispositive motion filed by

Settling Defendants. The parties served and responded to interrogatories and document requests

and had the litigation continued likely served requests for admissions and filed dispositive motions.

        As to Girsh factors 4, 5, 8, and 9 (the risks of establishing liability and damages and the

range of reasonableness of the settlement in light of the best possible recovery and all the attendant

risks of litigation), even if Mr. Fracchiolla undertook the costly, complex, and lengthy discovery

necessary to fully litigate this matter, he would still face the risk that he could not establish liability

as to the Settling Defendants. Specifically, Settling Defendants maintain that they are not joint

employers of Mr. Fracchiolla and that Mr. Fracchiolla’s claims against Settling Defendants are

predicated solely on a few instances when Digital Candy facilitated commission payments to



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Mr. Fracchiolla when Hire My Team exceeded its monthly limits on the Zelle payment app.

Further, even if Mr. Fracchiolla established liability at trial, Settling Defendants would assert that

Mr. Frachiolla is not entitled to any wage damages because he already received compensation for

time worked that equals or exceeds applicable minimum wage and any alleged overtime worked.

Settling Defendants would also assert that they acted in good faith and had objectively and

subjectively reasonable grounds for believing its actions were in conformity with the FLSA. See

e.g. Blan v. Classic Limousine Transp., LLC, 2021 U.S. Dist. LEXIS 59239, at *24 (W.D. Pa.

Mar. 29, 2021) (“Liquidated damages are mandatory under the statute unless the employer can

establish both the good faith and reasonableness of its failure to pay overtime wages.”)

       Accordingly, the total settlement amount of $22,500.00 is eminently reasonable as it

represents a fair compromise on a disputed claim. This is particularly true because of the dispute

as to whether Settling Defendants actually “employed” Mr. Fracchiolla, whether he is owed any

additional wages, and whether he was indeed misclassified under the FLSA.

       As to Girsh factor 3 (stage of proceedings and amount of discovery completed), if this case

had not settled the parties would have proceeded forward with extensive depositions of the

Plaintiff, Mr. Gonzalez and at least a Rule 30(b)(6) designee of Digital Candy LLC.

Notwithstanding the same, given the exchange of documents and information in this matter, this

settlement was reached by the parties each with a clear understanding and appreciation of their

positions and the attendant risks and uncertainties of continued litigation in pursuing them. The

parties entered the FLSA Settlement, the terms of which are reflected by the Joint Stipulation of

Settlement and Release of Claims (“Settlement Agreement” attached as Exhibit A) after extensive

back and forth negotiations in which they were each represented by able counsel experienced in




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wage-and-hour matters. This further weighs in favor of a finding that the settlement is fair and

reasonable. Based on the foregoing, the relevant Girsh factors are met.

       Furthermore, the attorneys’ fees award is reasonable. Courts within the Third Circuit

generally apply the “percentage-of-recovery” method when assessing the reasonableness of

attorneys’ fees. See, e.g., Mabry v. Hildebrandt, No. 14-5525, 2015 WL 5025810, at *3 (E.D. Pa.

Aug. 24, 2015). “[T]he percentage of recovery award in FLSA common fund cases ranges from

roughly 20-45%.” Id. at *4. Plaintiff’s counsel fee award falls well within that range. See, e.g.,

Rouse v. Comcast Corp., No. 14-1115, 2015 WL 1725721, at *12 (E.D. Pa. 2015) (approving 35%

attorney’s fees).

       “Fee awards in wage and hour cases are meant to ‘encourage members of the bar to provide

legal services to those whose wage claims might otherwise be too small to justify the retention of

able, legal counsel.” Aros v. United Rentals, Inc., 2012 WL 3060470, at *4 (D. Conn. July 26,

2012) (quoting Sand v. Greenberg, 2010 WL 69359, at *3 (S.D.N.Y. Jan. 7, 2010)). In scrutinizing

the fairness of FLSA settlements, and fees paid thereunder, courts in the Third Circuit have upheld

similar contingency rates agreed upon between a plaintiff and his/her counsel as the contingency

rate in the case at bar. In Adams, et al. v. Bayview Asset Management, LLC, Docket 13-CV-

05967 (E.D. Pa. 2013) (Brody, J.), the Court approved a 40% contingency fee for eight (8) different

single-plaintiff cases, conditioned upon the plaintiff's counsel representing via affidavit that the

contingency fee agreement existed at the commencement of the representation to verify plaintiff's

counsel bore all of the risk of loss by proceeding with such litigation. In Messina et. al. v. Oxford

Valley Cardiology Associates P.C. et. al, Docket No.: 16-CV-01008 (E.D. Pa., 2016) (Ditter, J.),

the Court approved a 40% contingency fees for five (5) different single-plaintiff cases, and in

assessing fees noted, “I find the attorney’s fees to be reasonable based on counsels’ joint



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representation that the fees and costs incurred were proportional to the needs of the case and

Plaintiffs’ counsel’s agreement not to seek payment for all services performed in order to facilitate

the settlement of this dispute.”). Id., at Dkt. No.: 24; Angela Edmondson v. Modern Group LTD.,et.

al. Docket 14-cv-6706 (E.D. Pa. 2015) (Kearny, J.) (Court approving contingency rate in single

plaintiff FLSA case); In this case, a 40% contingency is reasonable, particularly considering the

significant legal challenges that would have been faced relative to the “executive exemption” under

the FLSA. See e.g. Darosa v. Fla. Default Law Grp., P.L., 2011 U.S. Dist. LEXIS 94871, at *19

(M.D. Fla. Aug. 24, 2011) (granting summary judgment to an employer against claims brought by

foreclosure supervisor who claimed she was misclassified); Hudson v. Absecon Emergency Servs.,

No. 14-6419 (RMB/AMD), 2016 U.S. Dist. LEXIS 129602 (D.N.J. Sep. 22, 2016) (granting

summary judgment to an employer, finding that a “chief” of an EMS company was exempt under

the FLSA); Simpson v. Prince Telecom, LLC, 2017 U.S. Dist. LEXIS 48481 (D. Del. Mar. 31,

2017) (granting summary judgment to an employer wherein the employee claimed he was

misclassified as a salaried project manager). In short, there would have been a significant legal

battle over whether Settling Defendants were Mr. Fracchiolla’s “employers” for FLSA purposes

and whether he was indeed misclassified. Plaintiff’s counsel also secured a $201,000.00 judgment

against the remaining Defendants that would be undisturbed by this proposed settlement.

       Accordingly, the Court should find that the FLSA Settlement represents a fair and

reasonable resolution of the bona fide dispute.

           D. The Settlement Does Not Frustrate the Implementation of The FLSA.

       Judicial review also requires determination of whether the settlement agreement furthers

or “impermissibly frustrates” implementation of the FLSA in the workplace. Lyons v. Gerhard's

Inc., No. 14-06693; 2015 WL 4378514, at *3 (E.D. Pa. July 16, 2015) (citations omitted). “‘The



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congressional purpose of the FLSA and the public’s interest in the transparency of the judicial

process’ require district courts to review FLSA settlements for ‘the existence of side deals or other

conditions not present on the face of the employer’s offer, including constraints on employees

beyond their full compensation under the FLSA.’” Ogunlana, No. 19-1545, 2020 WL at *6

(quoting Brumley v. Camin Cargo Control, Inc., No. 8-1798, 2012 WL 10109337, *2 (D.N.J. Mar.

26, 2012)).

         Here, the FLSA Settlement, as reflected by the Settlement Agreement, does not frustrate

the implementation of the FLSA in the workplace because the release is properly limited and there

are no confidentiality provisions. See Schwartz v. Penn. State Univ., No. 15-02176, 2017 WL

1386251, *3 (M.D. Pa. Apr. 18, 2017) (indicating that scope of release and confidentiality

provisions are proper considerations for this prong, citing cases). The release of claims in the

Settlement Agreement is limited to wage related claims that were raised or could have been raised

in this matter and arising before the date of the Settlement Agreement. Such a narrowly-tailored

release does not frustrate implementation of the FLSA. See Southwood v. Milestone Management

PA-Feasterville, LLC, No. 19-2569, 2020 WL 5554396 (E.D. Pa. Sept. 15, 2020) (finding release

of wage-and-hour related claims arising before the date of the proposed settlement agreement

sufficiently limited); see also Bettger v. Crossmark, Inc., No. 13-cv-2030, 2015 WL 279754 (M.D.

Pa. Jan 22, 2015) (noting that district courts generally require FLSA settlements to limit release

provisions to “claims related to the specific litigation,” citing cases). For the foregoing reasons,

the FLSA Settlement does not frustrate the implementation of the FLSA.

   II.        Conclusion

         For the reasons stated above, the FLSA Settlement is a fair and reasonable resolution of a

bona fide dispute over FLSA provisions. Accordingly, the parties respectfully request that the



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Court grant their Joint Motion and enter an order substantially in the form attached hereto,

approving the FLSA Settlement and dismissing Mr. Fracchiolla’s claims with prejudice as it relates

to those against Settling Defendants.


Dated: September 9, 2021                     Respectfully submitted,


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                               EXHIBIT A




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31@D9?>54 =1DD5B9C5>D5B549>D? 9>49F94E1<<I 1>4?>2581<6?6&<19>D966 $%(%""

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D85?EBD D81DD85)5DD<5=5>D ?6D8512?F531@D9?>54 =1DD5BC81<< 2556653DE1D54E@?>1>4

CE2:53DD?D856?<<?G9>7 D5B=C1>43?>49D9?>C 

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               &<19>D966 69<54 89C?=@<19>D 1C5$E=25B  , - 9>D85+>9D54

)D1D5C9CDB93D?EBD6?BD851CD5B>9CDB93D ?6&5>>CI<F1>91 D85K *.+-L?>#1B38         

D85K!/,.&-L1719>CD9B5#I*51=""9B5#I75>3I""979D1< 1>4I ""

979D1< AE9DI ""45DE>:9 *8?=1C'E1B3?? 1>4)1>D?C?>J1<5J D?75D85B K#$#)"!)-,L 

               *85"1GCE9D1<<575C D81D565>41>DC=9C3<1CC96954 &<19>D966 1C1>9>45@5>45>D

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3?>DB13D?B1>4619<54 D?@1I&<19>D966 ?F5BD9=5 G175C1>43?==9CC9?> 2?>EC @1I=5>DC1<<5754<I

51B>542I89= 1>4?G54D?89= 9>F9?<1D9?> ?6D8519B"12?B)D1>41B4C3DK LD85

&5>>CI<F1>91 #9>9=E= -1753DK LD85&5>>CI<F1>91 -175&1I=5>D1>4?<<53D9?>

"1GK L 1>4*9D<5 ?6D85&89<145<@891 ?45D85-175*856D%B49>1>35 

                %> E<I            &<19>D966 69<54 1#?D9?> 6?B561E<D E47=5>D 1719>CD 1<<

565>41>DC 

                %> E<I           D85?EBD7B1>D54&<19>D966MC #?D9?> 6?B561E<D E47=5>D

1719>CD1<< 565>41>DC1>45>D5B541:E47=5>D 6?B                   

                %> 1>E1BI             )5DD<9>7 565>41>DC69<54 1#?D9?> D?,131D5D85561E<D

    E47=5>D 1719>CDD85= G8938D85?EBDCE2C5AE5>D<I 7B1>D54 

                *85)5DD<9>7 &1BD95C81F5C9>355>717549> 613D49C3?F5BI 9>133?B41>35G9D8 D85

?EBDMC%B45B9CCE54 ?> E<I              

                &<19>D966 25<95F5C D81D8581C=5B9D?B9?EC 3<19=C 21C54?>1<<5754 F9?<1D9?>C ?6D85

")&#--&"1>4*9D<5 ?6D85&89<145<@891 ?45D85-175*856D%B49>1>35 

                )5DD<9>7 565>41>DCC@5396931<<I 1>475>5B1<<I 45>I1>I1>41<< <9129<9DI ?B

GB?>74?9>7 ?61>IC?BD1B9C9>7 ?ED?6?BB5<1D54D? 1>I?6D853?>4E3D CD1D5=5>DC13DC?B

?=9CC9?>C 1<<5754 ?BD81D3?E<4 81F5255>1<<5754 9>D85"1GCE9D )5DD<9>7 565>41>DC6EBD85B

3?>D5>4 1=?>7 ?D85BD89>7C D81D&<19>D966 1D1<< D9=5CG1C3?=@5>C1D549> 3?=@<91>35 G9D8

6545B1<1>4CD1D5<1G1>4)5DD<9>7 565>41>DC3?=@<954 G9D81<< 1@@<9312<5 <1GCG9D8 B5C@53DD?

&<19>D966 

                %>E7ECD             1DD85B5AE5CD?6D85)5DD<9>7 &1BD95CD85?EBDB565BB54D89C

=1DD5BD?#179CDB1D5 E475(9381B4 "<?B5D6?BC5DD<5=5>D @EB@?C5C ?G5F5BD85)5DD<9>7

&1BD95CG5B512<5D?B5138D85)5DD<5=5>D G9D8?ED #179CDB1D5 E475"<?B5DMC9>F?<F5=5>D  



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               &<19>D966 9CB5@B5C5>D542I- 81B<5C)9@9? ?6!1B@6!1B@65BEDD9&  

K'!&)-&$$1, *.),#'L &<19>D966MC?E>C5< 3?>4E3D541>9>F5CD971D9?> 9>D? D85613DC9>3<E49>7

?2D19>9>7 1>41>1<IJ9>7 41D16B?=)5DD<9>7 565>41>DCB5<1D9>7 D?@?D5>D91< 41=175C1>4

B5F95G9>7 ?D85B4?3E=5>DC  &<19>D966MC ?E>C5< 81C@5B6?B=545HD5>C9F5 B5C51B38G9D8B5C@53DD?

D851@@<9312<5 <1G @?D5>D91< 41=175C1>41F19<12<5 4565>C5CD?D853<19=C 1CC5BD549> D89C

"1GCE9D 1C54?>D859B9>F5CD971D9?> 1>45F1<E1D9?> &<19>D966MC ?E>C5< 9C?6D85?@9>9?> D81D

D85)5DD<5=5>D G9D8)5DD<9>7 565>41>DC9C619B1>4B51C?>12<51>4145AE1D51>49> D8525CD

9>D5B5CD?6&<19>D966 9><978D ?61<< ;>?G>613DC1>439B3E=CD1>35CB9C;C?6C97>96931>D 45<1I1>4

4565>C5C1CC5BD542I)5DD<9>7 565>41>DC 

               )5DD<9>7 565>41>DC1B5B5@B5C5>D542I1B?<9>5 # ECD9> ?C5@8 1DD9@17<91

1>4<9C125D8  1CC1>9?6E1>5#?BB9C""&K#--'&)%#$#)"!)-,1 *.),#'L )5DD<9>7

565>41>DC81F517B554D?C5DD<5D85"1GCE9D?>D85D5B=CC5D6?BD885B59>2ED45>I1>I<9129<9DI  

)5DD<9>7 565>41>DC81F53?>3<E454 D81D9D9C45C9B12<5 D81DD85"1GCE9D256E<<I 1>469>1<<I

C5DD<549>D85=1>>5B1>4E@?>D85D5B=C1>43?>49D9?>C C5D6?BD885B59> 9>?B45BD?<9=9D 6EBD85B

5H@5>C59>3?>F5>95>35 1>449CDB13D9?> 49C@?C5?62EB45>C?=5 1>4@B?DB13D54<9D971D9?> 1>4

@5B=9D D85?@5B1D9?> ?6)5DD<9>7 565>41>DCM2EC9>5CC5CG9D8?ED 6EBD85B5H@5>C9F5 <9D971D9?> G9D8

B5C@53DD?=1DD5BC1D9CCE59>D85"1GCE9D )5DD<9>7 565>41>DC1<C?81F5D1;5>9>D? 133?E>DD85

E>35BD19>DI 1>4B9C;C9>85B5>D 9>D89C3?=@<5H <9D971D9?> 

               *85)5DD<9>7 &1BD95C25<95F5 D81DD85)5DD<5=5>D 9C619BB51C?>12<51>4145AE1D5 

*85)5DD<5=5>D G1C1BB9F541DD8B?E78 1B=MC<5>7D8 >57?D91D9?>C D1;9>7 9>D? 133?E>D1<< B5<5F1>D

613D?BC *85&1BD95CB53?7>9J5 D85E>35BD19>DI B9C; 5H@5>C51>445<1I1DD5>41>DD?3?>D9>E9>7

D85"1GCE9DD8B?E78 1@@51<1>41>IB5=1>4 33?B49>7<I D85)5DD<9>7 &1BD95C45C9B5D?6E<<I

69>1<<I 1>46?B5F5BC5DD<53?=@B?=9C5 1>449C381B751<< 49C@ED5C1>43<19=C 1B9C9>7 6B?=?B



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B5<1D9>7 D?D85"1GCE9D1CC5D6?BD885B59> 

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              >3?>C945B1D9?> 6?BC97>9>7 D89C)5DD<5=5>D 1>43?=@<I9>7 G9D8 9DCD5B=C

)5DD<9>7 565>41>DC17B55CD?@1I&<19>D966 D85D?D1< 1=?E>D?6*G5>DI*G?*8?EC1>4 9F5

E>4B54?<<1BC            D85K#--'#(#)-!0(#)-L *85)5DD<5=5>D &1I=5>DG9<< 25

1@@?BD9?>54 1C6?<<?GC

                1       )5DD<9>7 565>41>DCG9<< @1I&<19>D966 1D?D1< ?6     %>58E>4B54

@5B35>D     ?6D857B?CC1=?E>D ?6    9C1<<?31D54 D?<9AE941D54 41=175C1>4C81<<

25B5@?BD54?>1>()?B=        9CCE54D?&<19>D966 1CK?D85B9>3?=5 L

                2       )5DD<9>7 565>41>DCG9<< @1I&<19>D966MC ?E>C5< D851=?E>D?61DD?B>5ICM

655C3?CDC1>45H@5>C5C1@@B?F542ID85?EBD E@D?1=1H9=E= ?6   

                       9        &<19>D966 1>4&<19>D966MC ?E>C5< 17B55D81DD85IG9<< 1335@DD85

        1=?E>D ?61DD?B>5ICM655C3?CDC1>45H@5>C5C1@@B?F54 2ID85?EBD5F5>96D851=?E>D

        9C<5CCD81>D85=1H9=E= 17B554E@?> 1=?E>D ?6   

                      99        *85&1BD95C>57?D91D54 D8517B554E@?> 1=?E>D?6  6?B

        1DD?B>5ICM655C3?CDC1>45H@5>C5CC5@1B1D5<I6B?=D851=?E>D D?25@194 D?&<19>D966

        @EBCE1>DD?&1B17B1@8 1 

                     999        *8556653D9F5>5CC?6D89C )5DD<5=5>D 9C>?D3?>49D9?>54 E@?> 1>I

        C@5396931=?E>D ?61DD?B>5ICM655C3?CDC?B5H@5>C5C259>7 1@@B?F542ID85?EBD *85

        ?EBDMC1G1B4?61>1=?E>D ?D85BD81>D85=1H9=E= 17B554E@?> 1=?E>D?6 

        9C>?D17B?E>4 D?F?94 D85)5DD<5=5>D  

                      9F        )5DD<9>7 565>41>DCC81<< >?D25<912<5 D?@1I&<19>D966MC ?E>C5<

        1>I1DD?B>5ICM655C3?CDC?B5H@5>C5C9>5H35CC?6D85=1H9=E= 17B554E@?> 1=?E>D?6



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                3      *85&1BD95C17B55D81D>?D89>7 3?>D19>54 85B59>9C9>D5>454 D?3?>CD9DED5

<571< 14F935B571B49>7 D85D1H129<9DI ?61>I1=?E>D @19485B5E>45B >?BC81<< 9D25B5<954 E@?>1C

CE38 &<19>D966 G9<< 25B5C@?>C92<5 6?B?2D19>9>7 89C ?G>D1H14F935G9D8 B5C@53DD?1>I@1I=5>DC

B5CE<D9>7 6B?=D89C )5DD<5=5>D )5DD<9>7 565>41>DC=1;5C>?G1BB1>DI1>481F5@B?F9454 >?

14F935B571B49>7 D85D1HDB51D=5>D?6D85)5DD<5=5>D &1I=5>D << D1H5C1B5D85C?<5

B5C@?>C929<9DI ?6&<19>D966 1>4&<19>D966 =ECD1CCE=51>ICE38D1H?2<971D9?>C ?B3?>C5AE5>35C

D81D=1I1B9C56B?=D85C5DD<5=5>D@1I=5>D &<19>D966 9C>?D5>D9D<54 D?>?BC81<< 85C55;1>I

9>45=>96931D9?> 6B?=)5DD<9>7 565>41>DC?B)5DD<9>7 565>41>DCM?E>C5< 9>D89C B571B4 

&<19>D966 17B55CD?9>45=>96I 1>48?<4 )5DD<9>7 565>41>DC1>4)5DD<9>7 565>41>DCM?E>C5<

81B=<5CC6B?=1>I3<19=C <?CC5C45=1>4C 4569395>395C <5F95C 1CC5CC=5>DC5H53ED9?>C

:E47=5>DC @5>1<D95C D1H5C1DD?B>5ICM655C?BB53?F5B95C2I1>I7?F5B>=5>D1< 5>D9DI 1719>CD

)5DD<9>7 565>41>DC?B)5DD<9>7 565>41>DCM?E>C5< 6?B1>I619<EB5 2I&<19>D966 D?@1ID1H5C4E5

1>4?G9>7 961>I?>D85)5DD<5=5>D &1I=5>D 

                4      )5DD<9>7 565>41>DCG9<< 9CCE5D85)5DD<5=5>D &1I=5>DD?&<19>D966 1>4

&<19>D966MC ?E>C5< 1@@?BD9?>54 1CC5D6?BD89> D89C&1B17B1@8 G9D89> D89BDI  41IC16D5BD85

?EBD69>1<<I 1@@B?F5CD89C)5DD<5=5>D 

              +@?>69>1< 1@@B?F1< ?6D89C)5DD<5=5>D 2ID85?EBD &<19>D966 17B55CD?D1;51<<

13D9?>>535CC1BID?81F5D853<19=C 9>D85"1GCE9D1719>CD )5DD<9>7 565>41>DC49C=9CC54 G9D8

@B5:E4935 CE2:53D D?D85D5B=C?6&1B17B1@8 25<?G 

              &<19>D966 E>45BCD1>4C1>417B55CD81D85G?E<4 >?DB5359F5D85)5DD<5=5>D &1I=5>D

45C3B92549> &1B17B1@8 12?F55H35@D6?BD855H53ED9?> ?6D89C)5DD<5=5>D 1>4D856E<69<<=5>D

?6D85@B?=9C5C 3?>D19>54 85B59> 



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           Case 2:20-cv-01684-WB Document 48 Filed 09/09/21 Page 26 of 31




                                        (")%"#)
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              )E2:53D D?1@@B?F1< ?6D85?EBD9> 3?>C945B1D9?> ?6D85)5DD<5=5>D &1I=5>D

&<19>D966 B5<51C5C1>46?B5F5B49C381B75C)5DD<9>7 565>41>DC1>49DC@B5C5>D1>46?B=5B@1B5>D

3?=@1>95C CE2C9491B95C 49F9C9?>C B5<1D54?B1669<91D54 3?=@1>95C ?G>5BCC81B58?<45BC

=5=25BC?66935BC 49B53D?BC 5=@<?I55C 3?>CE<D1>DC 175>DC1DD?B>5IC 9>CEB5BC CE335CC?BC1>4

1CC97>C 1>I9>49F94E1< ?B5>D9DI G89383?E<4 25:?9>D<I <912<5 G9D8 1>I?6D856?B57?9>7 1>41<<

?D85B@5BC?>C13D9>7 E>45BD85CE@5BF9C9?> 49B53D9?> 3?>DB?< ?B?>2581<6?61>I?6D856?B57?9>7

3?<<53D9F5<I D85K#--'&)%#$#)"!)-,1#'#!,##,L?61>46B?=1<< 3<19=C D81DG5B51<<5754 ?B

3?E<4 81F5255>1<<5754 2I&<19>D966 9>D85"1GCE9D21C54?>D85613DE1<1<<571D9?>C 9>D85

"1GCE9D G85D85B;>?G>?BE>;>?G> D8B?E78 D8541D5?6D89C)5DD<5=5>D <9=9D54 D?G1751>4

8?EB3<19=C E>45B6545B1<CD1D5?B<?31< <1G6?B8?EBCG?B;54 9>3<E49>7 CE383<19=C E>45BD85

")&#--&"*9D<5 ?6D85&89<145<@891 ?45D85-175*856D%B49>1>35?B1>I?D85B

CD1D5=9>9=E= G175<1GCCD1D5G175@1I=5>D 1>43?<<53D9?> <1GC?BCD1D5?F5BD9=5 CD1DED5C

1>41>I3?==?> <1G3<19=C B5<1D9>7 D?8?EBCG?B;54?BG175C?G549>3<E49>7 @B?=9CC?BI

5CD?@@5< 6B1E4 =9CB5@B5C5>D1D9?> E>:ECD 5>B938=5>D 1>42B5138?65H@B5CC?B9=@<954 3?>DB13D 

)E2:53D D?&1B17B1@8 >?@B?F9C9?> ?6D89C7B55=5>DC81<< 253?>CDBE54D?G19F5&<19>D966MC

B978D D?@EBCE5D85:E47=5>D 5>D5B541719>CD9B5#I*51=""9B5#I75>3I""

979D1< AE9DI ""1>4 ?B45DE>:9 *8?=1C'E1B3?? ?BD85E>45B<I9>7 3<19=C 1719>CDD8?C5

>?>C5DD<9>7 565>41>DCC8?E<4 D85:E47=5>D 2549CDEB254 ?BF131D542ID85?EBD6?B1>I

B51C?> 

              &<19>D966 1669B=CD81D8581C>?D69<54 31EC54D?2569<54 ?B@B5C5>D<I 9C1@1BDID?

1>I3<19= 1719>CD )5DD<9>7 565>41>DC5H35@DD8?C59> D89C"1GCE9D 

                            *%$"*(#)$%$*%$)


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                 *85&1BD95C17B55D81D>59D85B D89C)5DD<5=5>D >?BD856EB>9C89>7 ?63?>C945B1D9?>

6?BD89C )5DD<5=5>D C81<< 25455=54?B3?>CDBE541D1>ID9=5 6?B1>I@EB@?C5 1C1>14=9CC9?> 2I

D85)5DD<9>7 565>41>DC?B)5DD<9>7 565>41>DCM(5<51C55C?6GB?>74?9>7 ?B5F945>35?61>I

<9129<9DI ?BE><1G6E< 3?>4E3D?61>I;9>4  *85)5DD<9>7 &1BD95C85B5D?81F55>D5B549>D? D89C

)5DD<5=5>D G9D8D859>D5>D9?> D?1F?94 6EBD85B49C@ED5C1>4<9D971D9?> G9D8D851DD5>41>D

9>3?>F5>95>35 1>45H@5>C5C 

                 &<19>D966 17B55CD81D8581C>?B978D D?5=@<?I=5>D ?BB55=@<?I=5>D G9D8 )5DD<9>7

565>41>DC?B1>I?6D85)5DD<9>7 565>41>DCM(5<51C55C >D855F5>DD81D&<19>D966 C55;C

5=@<?I=5>D ?BB55=@<?I=5>D 9> F9?<1D9?> ?6D89C @B?F9C9?> )5DD<9>7 565>41>DC1>4)5DD<9>7

565>41>DCM(5<51C55CC81<< >?D25?2<971D54 D?5=@<?I ?BB55=@<?I &<19>D966 1>4CE383?>4E3D

C81<< 25<1G6E<  &<19>D966 13;>?G<5475C 1>417B55CD81D89CG9<<9>7>5CC D?6?B251B6B?=C55;9>7

6EDEB55=@<?I=5>D ?BG?B;9> 1>I?D85B31@139DIG9D8 )5DD<9>7 565>41>DC?B1>I?6D85)5DD<9>7

565>41>DCM(5<51C55C9C1@EB5<I 3?>DB13DE1< D5B=D81D&<19>D966 69>4C 1335@D12<521C54?>

3?>CE<D1D9?> G9D889C 3?E>C5<1>49C9> >?G1I1>9>F?<E>D1BI 49C3B9=9>1D?BI ?BB5D1<91D?BI

9=@?C9D9?> E@?> &<19>D966 2I)5DD<9>7 565>41>DC?B1>I?6D85)5DD<9>7 565>41>DCM(5<51C55C 

                  &<19>D966 17B55C>?DD?3B9D939J5 45>97B1D5 ?B49C@1B175 9>GB9D9>7 ?B1<<I ?B

5<53DB?>931<<I )5DD<9>7 565>41>DC?B1>I?6D85)5DD<9>7 565>41>DCM(5<51C55C?BD859B

B5C@53D9F5@B?4E3DC C5BF935C1>4@B?@5BD95C  )9=9<1B<I )5DD<9>7 565>41>DC17B55>?DD?3B9D939J5

45>97B1D5 ?B49C@1B175 9>GB9D9>7 ?B1<<I ?B5<53DB?>931<<I &<19>D966  &<19>D966 1>4)5DD<9>7

565>41>DC6EBD85B17B55D81DD85IG9<< >?D9>9D91D5 1>I@E2<939DI 9>3<E49>7 @B9>D D5<5F9C9?>

1>4 ?B9>D5B>5D 9>3<E49>7 C?391< =5491 12?EDD85"1GCE9D?BD89C )5DD<5=5>D &<19>D966 G9<<

B5C@?>4D?1>I=54919>AE9B95C 2ICD1D9>7 K*85=1DD5B81C255>B5C?<F54D?D85C1D9C613D9?> ?6

D85&1BD95C L



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               << @1BD95CD?D85"1GCE9D1B5@5B=1>5>D<I 1>46?B5F5B21BB541>45>:?9>54 6B?=

69<9>7 3?==5>39>7 9>CD9DED9>7 @B?C53ED9>7 ?B=19>D19>9>7 59D85B49B53D<I 9>49B53D<I

B5@B5C5>D1D9F5<I ?B9>1>I?D85B31@139DI1>I3<19= 3?E>D5B3<19= 3B?CC3<19= D89B4@1BDI 3<19=

?B?D85B13D9?>1B9C9>7 ?ED?6D85"1GCE9D1>4 ?BD85DB1>C13D9?>C 1>4?33EBB5>35CB565BB54D?9>

&<19>D966MC ?=@<19>D 9>3<E49>7 G9D8?ED <9=9D1D9?> 1>I3<19= ?B13D9?> C55;9>79>45=>96931D9?>

1>4 ?B3?>DB92ED9?> 8?G5F5B45>?=9>1D54 1719>CD)5DD<9>7 565>41>DC1>41>I?6)5DD<9>7

565>41>DCM(5<51C55CG85D85BCE383<19=C 1B5<571< ?B5AE9D12<5 ;>?G>?BE>;>?G> 6?B5C55>

?BE>6?B5C55> =1DEB54?BE>=1DEB54 133BE54?BE>133BE54 

               *89C)5DD<5=5>D C81<< 257?F5B>54 1>49>D5B@B5D54 9>133?B41>35G9D8D85<1GC?6

D85?==?>G51<D8 ?6&5>>CI<F1>91  >D855F5>D?612B5138?61>I@B?F9C9?> ?6D89C

)5DD<5=5>D 59D85B@1BDI=1I9>CD9DED5 1>13D9?>C@5396931<<I D?5>6?B351>ID5B=?BD5B=C?6D89C

)5DD<5=5>D 1>4 ?BC55;1>I41=175C6?B2B5138 

              *89C)5DD<5=5>D =1I>?D25=?496954 1<D5B54?B381>7545H35@D9>GB9D9>7 1>4

C97>54 2I1<<)5DD<9>7 &1BD95CG85B59>C@539693 B565B5>359C=145D?D89C)5DD<5=5>D  

              *89C)5DD<5=5>D C5DC6?BD8D855>D9B517B55=5>D25DG55>D85)5DD<9>7 &1BD95C

85B5D?1>46E<<I CE@5BC545C1>I@B9?B 17B55=5>DC?BE>45BCD1>49>7C 25DG55>D85)5DD<9>7 &1BD95C 

&<19>D966 13;>?G<5475C D81D8581C>?DB5<954 ?>1>IB5@B5C5>D1D9?>C @B?=9C5C ?B17B55=5>DC?6

1>I;9>4 =1459>3?>>53D9?> G9D889C 4539C9?> D?1335@DD89C)5DD<5=5>D 5H35@D6?BD8?C5

5H@B5CC<IC5D6?BD89>D89C )5DD<5=5>D 

              *89C)5DD<5=5>D =1I255H53ED549>?>5?B=?B53?E>D5B@1BDC1>42I613C9=9<5 ?B

5=19<  <<5H53ED543?@95C?6D89C)5DD<5=5>D 1>4@8?D?3?@95C D85B5?69>3<E49>7 613C9=9<5

1>4 ?B5=19<54 3?@95C?6D85C97>1DEB5@175CC81<< 81F5D85C1=56?B351>456653D1>4C81<< 25

1C<571<<I 29>49>7 1>45>6?B3512<51CD85?B979>1< 



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          Case 2:20-cv-01684-WB Document 48 Filed 09/09/21 Page 29 of 31



               *89C)5DD<5=5>D 9CCE2:53DD?1@@B?F1< 2ID85?EBD >D855F5>D9D9C>?D

1@@B?F54 9DC81<< 25455=54>E<< 1>4F?94 ?6>?6?B351>456653D1>4?6>?@B?21D9F5 F1<E5 1>4

D85)5DD<9>7 &1BD95C85B5D?B5@B5C5>DG1BB1>D1>43?F5>1>DD81D9>D81D5F5>D9DG9<< >?D25EC54

?BB565BB54D?6?B1>I@EB@?C5G81DC?5F5BB571B49>7 D85@EBCE9D ?6D853<19=C ?B4565>C5C1D9CCE5

9>D85"1GCE9D >D855F5>DD85?EBD4?5C>?D1@@B?F5D85)5DD<5=5>D D85)5DD<9>7 &1BD95CC81<<

B5DEB>D?D859BB5C@53D9F5@?C9D9?>C 9==5491D5<I @B9?B D?D855H53ED9?> ?6D89C )5DD<5=5>D 

               *85?EBDC81<< B5D19>:EB9C493D9?> G9D8B5C@53DD?D859>D5B@B5D1D9?>

9=@<5=5>D1D9?> 1>45>6?B35=5>D?6D85D5B=C?6D89C )5DD<5=5>D 1>41<< ?B45BC1>4:E47=5>DC

5>D5B549>3?>>53D9?> D85B5G9D8 1>4D85)5DD<9>7 &1BD95C1>4D859B3?E>C5< 85B5D?CE2=9D D?D85

:EB9C493D9?> ?6D85?EBD6?B@EB@?C5C?69>D5B@B5D9>7 9=@<5=5>D9>7 1>45>6?B39>7 D85D5B=C

5=2?4954 9>D89C )5DD<5=5>D 1>41<< ?B45BC1>4:E47=5>DC 5>D5B549>3?>>53D9?> D85B5G9D8 

               *89C)5DD<5=5>D C81<< 2529>49>7 E@?> 1>49>EB5 D?D8525>569D ?6D85)5DD<9>7

&1BD95C1>4D85)5DD<9>7 565>41>DCM(5<51C55C *85)5DD<9>7 &1BD95CB5@B5C5>D3?F5>1>D1>4

G1BB1>DD81DD85I81F5>?D 49B53D<I ?B9>49B53D<I 1CC97>54 DB1>C65BB545>3E=25B54?B@EB@?BD54

D?1CC97> DB1>C65B?B5>3E=25B D?1>I@5BC?>?B5>D9DI 1>I@?BD9?> ?61>I<9129<9DI 3<19=

45=1>4 13D9?> 31EC5?613D9?> ?BB978DC 85B59>B5<51C541>449C381B754 

               *85)5DD<9>7 &1BD95C17B55D81DD85D5B=C1>43?>49D9?>C ?6D89C)5DD<5=5>D 1B5D85

B5CE<D?6<5>7D8I 9>D5>C9F5 1B=C<5>7D8 >57?D91D9?>C 25DG55>D85)5DD<9>7 &1BD95C1>4D81DD89C

)5DD<5=5>D C81<< >?D253?>CDBE549>61F?B?6?B1719>CD1>I)5DD<9>7 &1BDI2IB51C?>?6D855HD5>D

D?G8938 1>I)5DD<9>7 &1BDI?B89C 85B?B9DC3?E>C5< @1BD939@1D54 9>D854B16D9>7 ?6D89C

)5DD<5=5>D  

               &1B17B1@8D9D<5C?B31@D9?>C3?>D19>54 85B59>1B59>C5BD541C1=1DD5B?6

3?>F5>95>35 1>46?BB565B5>351>49>>?G1I4569>5 <9=9D 5HD5>4?B45C3B925D85C3?@5?6D89C



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